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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO
                             Senior Judge John L. Kane


Date: October 30, 2023
Courtroom Deputy: Bernique Abiakam
Court Reporter: Kevin Carlin

Civil Action No.: 23-cv-02563-JLK


ROCKY MOUNTAIN GUN OWNERS, and
ALICIA GARCIA,                                              D. Sean Nation

      Plaintiffs,
v.

JARED S. POLIS, in his official capacity as the
Governor of the State of Colorado,                          Michael T. Kotlarczyk
                                                            Matthew J. Worthington

      Defendant.

                             COURTROOM MINUTES
Motion Hearing - Preliminary Injunction – Day 2

9:33 a.m.     Court in session.

Court calls case.   Appearances of Counsel and parties.

Today’s continued hearing regarding Doc. No. 2.

9:34 a.m.     Defendant’s witness, Christopher Poliquin, called and sworn.

Direct examination begins by Mr. Worthington.

10:05 a.m.    Cross examination begins by Mr. Nation.

10:14 a.m.    Witness excused.

10:15 a.m.    Court in recess.

10:43 a.m.    Court in session.

10:44 a.m.    Closing argument by Mr. Nation.

10:49 a.m.    Closing argument by Mr. Kotlarczyk.

11:05 a.m.    Rebuttal argument by Mr. Nation.
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ORDERED: Motion For Temporary Restraining Order and for Preliminary
         Injunction (Filed 10/1/23; Doc. No. 2) is taken UNDER ADVISEMENT.

11:12 a.m. Court in recess.
Hearing concluded.
Total time in court: 1 hour, 11 minutes
